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          Request for Authorization to bring electronic dcvice(s) into the
          United States District Court for the Eastern District of Virginia

        The following named pcrson(s) is authorized to bring the below deseribed
 eleetronie device(s) into the United Slates District Court for the Eastern District of
 Virginia on the dale(s) specified:
                                     Mary Zinsner, TJ Fox, J, David Hadden
          Authorized Person(s);




          Electronic Device(s)"          laptop computer, one clicker, and associated power cords,
                                     cables, and accessories




          Purpose and Location       Hearing on Amazon's Renewed Motion for Attorneys' Fees Under
                                     35 U.S.C. 285 - Judge O'Grady's Courtroom
          OfUse:

                                    1:16cv861
          Case No.:

                                      1/17/2020 at 10 AM (hearing date) and during technology orientation
          Date(s) Authorized:

          IT Clearance Waived:                    _(Yes)                  (No)

                                      APPROVED BY:



  Date:        M ■
                                      UnifecTStatesDistrict/Nfe'^Hslrale/Bankruptcy Judge
                                          L ...            b DiArictXj'je

  A copy of this signed authorization must be presented upon entering the courthouse.


  IT Clearance:
                                IT Staff Member                                            Date(s)



  IT clearance must be completed, unless waived, before court appearance.
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